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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )
             v.                          ) Civil Action No. 1:16-cv-03088-ELR
                                         )
STATE OF GEORGIA,                        )
                                         )
                   Defendant.            )

           NOTICE OF FILING SUPPLEMENTAL AUTHORITY

      The United States, by and through undersigned counsel, hereby gives notice

that on December 22, 2021, the United States Court of Appeals for the Eleventh

Circuit denied the State of Florida’s petition for rehearing en banc of the panel’s

decision in United States v. Florida, 938 F.3d 1221 (11th Cir. 2019). See United

States v. Florida, No. 17-13595, Order and Opinion (11th Cir. Dec. 22, 2021)

(“Order”). The Eleventh Circuit also reaffirmed with additional analysis its well-

supported ruling that the Attorney General of the United States may file suit to

enforce Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§

12131–65. See Order at 38. In explaining the panel majority’s decision, Judge

Pryor discussed the legal and statutory framework establishing the Attorney

General’s authority to enforce Title II and concluded: “The panel majority got the
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law right. In Title II of the ADA, Congress authorized the Attorney General to sue

any public entity, regardless of whether it receives federal funding, to enforce the

statute.” Id.

       A copy of the Eleventh Circuit’s Order is attached to this Notice of Filing.

                                               Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the foregoing Notice of Filing of

Supplemental Authority with the Clerk of Court using the CM/ECF system, which

automatically sent counsel of record e-mail notification of such filing.

                                          This 4th day of January, 2022.



                                          /s/ Aileen Bell Hughes
                                          AILEEN BELL HUGHES
                                          ASSISTANT U.S. ATTORNEY




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